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   Entered on Docket
   August 10, 2022
__________________________________________________________________

NVB 2400C (Rev. 2/16)


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


IN RE:                                                  BK−22−50266−nmc
                                                        CHAPTER 7
ALVIN A. BRESCIANI
   aka ALVIN A. BRESCIANI Jr.
   dba BRESCIANI HAY COMPANY, INC.
                                                        ORDER ON REAFFIRMATION
                                                        AGREEMENT
                                   Debtor(s)

                                                        Hearing Date: August 9, 2022
                                                        Hearing Time: 1:00 P.M.



The debtor(s) ALVIN A. BRESCIANI has filed a motion for approval of the reaffirmation agreement
dated July 5, 2022 made between the debtor(s) and CHRYSLER CAPITAL.

The court held the hearing required by 11 U.S.C. Section 524(d) on notice to the debtor(s) and the
creditor on August 9, 2022.


IT IS ORDERED:

               The court approves the reaffirmation agreement under 11 U.S.C. Section 524(m).
               The court disapproves the reaffirmation agreement under 11 U.S.C. Section 524(m).
               The court finds that the reaffirmation agreement is not in the debtor's best interest and
               is disapproved. However, because the court finds the debtor complied with the
               requirements of 11 U.S.C. Sections 362(h) and 521, the debtor may retain the collateral
               so long as the debtor is not otherwise in default.
               The court grants the debtor's motion under 11 U.S.C. Section 524(c)(6)(A) and
               approves the reaffirmation agreement described above as not imposing an undue
               hardship on the debtor(s) or a dependent of the debtor(s) and as being in the best
               interest of the debtor(s).
               The court grants the debtor's motion under 11 U.S.C. Section 524(k)(8) and approves
               the reaffirmation agreement described above.
               All pre−petition warranties, representations and covenants for the benefit of Debtor,
               contained in the underlying purchase agreement, financing agreement or any other
               documents with respect to the collateral, shall remain in full force and effect under the
               reaffirmation agreement. The pre−petition warranties, representations and covenants
               shall not be modified, waived, cancelled, or voided in any manner as a result of the
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    Debtor entering into the reaffirmation agreement.
    Approval of the reaffirmation agreement is conditioned upon an applicable interest rate
    of ten percent (10%) or less.
    Default by the Debtor under the reaffirmation agreement with respect to a vehicle is
    only enforceable to the extent that (1) the Debtor fails to make a payment as required
    by the agreement; or (2) the prospect of payment, performance or realization of
    collateral is significantly impaired. The burden of establishing the prospect of
    significant impairment is on the creditor. N.R.S. 97.304
    The Creditor must provide monthly statements to the Debtor effective immediately.
    In open court, the Debtor withdrew the Reaffirmation Agreement.
    Hearing taken off calendar for failure to appear.
    Other:




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